    Case 1:01-cv-12257-PBS Document 6528-52 Filed 09/22/09 Page 1 of 4




                               Exhibit 51



United States of America ex rel. Ven-a-Care of the Florida Keys, Inc v. Abbott Laboratories,
                  Inc.; Dey, Inc., et al.; Boehringer Ingelheim Corp., et al.;
                               Civil Action No. 01-12257-PBS


        Exhibit to the September 22, 2009, Declaration of George B. Henderson, II
       In Support of Plaintiff’s Response to Defendants’ Combined Local Rule 56.1
      Statement of Additional Material Facts Pertinent to the United States’ Motions
                     for Partial Summary Judgment Against Defendants
            Case 1:01-cv-12257-PBS Document 6528-52 Filed 09/22/09 Page 2 of 4
NM Department of Human Services (Robert Stevens)                          December 15, 2008
                                       Santa Fe, NM

                                                                                   Page 1
                   THE UNITED STATES DISTRICT COURT

                  FOR THE DISTRICT OF MASSACHUSETTS

       ------------------------------------X

       In Re:   PHARMACEUTICAL INDUSTRY       ) MDL No. 1456

       AVERAGE WHOLESALE PRICE LITIGATION     ) Master File No.

       ------------------------------------) 01-CV-12257-PBS

       THIS DOCUMENT RELATES TO:              )

       United States of America ex rel.       ) Hon. Patti B.

       Ven-A-Care of the Florida Keys,        )      Saris

       Inc., et al., v. Dey, Inc., et al., )

       Civil Action No. 05-11084-PBS;         )

       and United States of America ex        ) DEPOSITION OF

       rel. Ven-A-Care of the Florida         ) THE NEW MEXICO

       Keys, Inc., et al., v. Boehringer      ) DEPARTMENT OF

       Ingelheim Corp., et al., Civil         ) HUMAN SERVICES

       Action No. 07-10248-PBS;               ) by ROBERT J.

       and United States ex rel. Ven-A-Care) STEVENS

       of the Florida Keys v. Abbott          )

       Laboratories, Inc., Civil Action       )    DECEMBER 15,

       Nos. 06-CV-11337 and 07-CV-11618       )       2008

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NM Department of Human Services (Robert Stevens)                          December 15, 2008
                                       Santa Fe, NM

                                                                                   Page 2
   1
                             DEPOSITION OF ROBERT J. STEVENS
   2
                                         December 15, 2008
   3
                                                   9:23 a.m.
   4
                               Hilton Santa Fe Historic Plaza
   5
                                       100 Sandoval Street
   6
                                Santa Fe, New Mexico            87501
   7

   8

   9
                      PURSUANT TO THE FEDERAL RULES OF CIVIL
 10
                             PROCEDURE, this deposition was:
 11

 12
          TAKEN BY:          DOUGLAS E. JULIE, ESQ.
 13
                             Attorney for Dey, Inc., Dey L.P., Inc.,
 14
                             and Dey L.P.
 15

 16
          REPORTED BY:            Jan A. Williams, RPR, CCR 14
 17

 18

 19

 20

 21

 22




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NM Department of Human Services (Robert Stevens)                          December 15, 2008
                                       Santa Fe, NM

                                                                               Page 318
   1
                            MR. JULIE:             Objection to form.
   2
                            THE WITNESS:             No, we do not.
   3
          BY MR. RIKLIN:
   4
                   Q.       Does New Mexico have any practice or
   5
          policy of paying inflated acquisition costs in
   6
          order to make up for inadequate dispensing fees?
   7
                   A.       No, we have specifically and
   8
          intentionally not done that over the years.
   9
                            MR. JULIE:             Objection to form.
 10
          BY MR. RIKLIN:
 11
                   Q.       And, in fact, you have previously
 12
          testified that in your opinion the dispensing
 13
          fees that New Mexico has enacted over the years
 14
          are reasonable fees, correct?
 15
                   A.       Yes.
 16
                   Q.       Mr. Stevens, does your fiscal agent
 17
          investigate the published drug pricing for
 18
          accuracy?
 19
                            MR. JULIE:             Objection to form.
 20
                            THE WITNESS:             No, they don't.
 21
          BY MR. RIKLIN:
 22
                   Q.       Do the employees in your pharmacy

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